      Case 4:19-cv-03074-YGR        Document 524     Filed 05/22/25   Page 1 of 2




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 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                      OAKLAND DIVISION

11   DONALD R. CAMERON, et al.,                         No. 4:19-cv-03074-YGR
12                                     Plaintiffs,      [PROPOSED] ORDER
                                                        AUTHORIZING FURTHER
13
              v.                                        SETTLEMENT DISTRIBUTIONS
14                                                      PRIOR TO DISTRIBUTION OF
     APPLE INC.                                         UNCLAIMED FUNDS TO CY PRES
15                                                      RECIPIENT
16                                    Defendant.
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                                                        Hon. Yvonne Gonzales Rogers
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     Case No.: 19-cv-03074-YGR
     010818-11/2973388 V1
      Case 4:19-cv-03074-YGR           Document 524       Filed 05/22/25     Page 2 of 2




 1          The Court, having reviewed Developer Plaintiffs’ Proposal for Further Settlement Fund

 2   Distributions Prior to Distribution of Unclaimed Funds to Cy Pres Recipient, and with good cause

 3   appearing, hereby ORDERS:

 4          1. The Settlement Administrator (“Angeion”) shall redistribute the unclaimed portion of the

 5              Settlement Fund ($1,376,628.82) to Settlement Class Members who redeemed their initial

 6              settlement payments.

 7          2. Checks issued in this supplemental distribution shall remain valid for 60 days, whereupon

 8              unclaimed funds will be forfeited and returned to the settlement fund.

 9          3. Within 30 days of supplemental checks becoming void, Developer Plaintiffs shall submit a

10              Supplemental Post-Distribution Accounting and proposal for any further distributions,

11              including to a cy pres recipient.

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13          IT IS SO ORDERED.

14           May 22, 2025
     DATED: _______________

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16                                                  HONORABLE YVONNE GONZALEZ ROGERS
                                                    UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER RE FINAL DISTRIBUTION TO CY PRES RECIPIENT - 1
     Case No.: 19-cv-03074-YGR
